 Case 2:03-cr-00350-RFB-PAL         Document 1638       Filed 12/02/11    Page 1 of 2



 1   THOMAS F. PITARO, ESQ.
 2   Nevada Bar No. 001332
     330 South Third Street
 3   Suite #860
     Las Vegas, Nevada 89101
 4   (702) 382-9221
 5   Attorney for Defendant

 6                             UNITED STATES DISTRICT COURT
 7
                                     DISTRICT OF NEVADA
 8
 9    UNITED STATES OF AMERICA,
10            Plaintiff,
11                                                  Case No. CR-03-00350-LRH-LRL
      vs.
12
13    ARLANDERS GIBSON et al,

14            Defendant.
15
16                  MOTION FOR REMOVAL FROM THE CM/ECF SYSTEM
                      SERVICE LIST AND ORDER GRANTING MOTION
17
18          COMES NOW, THOMAS F. PITARO, ESQ., attorney for Darreal Biddle, and filesthis

19   Motion for Removal from the CM/ECF System Liste (the “Motion”) in the above-entitled matter.
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23   ////

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28   ////

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 Case 2:03-cr-00350-RFB-PAL           Document 1638         Filed 12/02/11      Page 2 of 2



 1          The basis of this Motion is this Motion is that Darreal Biddle is no longer listed as a party
 2
     to this action in the Plaintiff’s most recent Amended Complaint and is therefore no longer a
 3
     Defendant or party herein.
 4
 5          DATED this 25th day of November, 2011.

 6
 7
                                                                       /S/ Thomas F. Pitaro
 8                                                                Nevada Bar No. 001332
                                                                  330 South Third Street
 9
                                                                  Suite #860
10                                                                Las Vegas, Nevada 89101
                                                                  Attorney for Defendant
11
12                                               ORDER

13          IT IS SO ORDERED.
14                        1st               December
            DATED this ____________ day of ____________, 2011.
15
16                                                        __________________________________
17                                                        UNITED STATES DISTRICT JUDGE

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